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				WITHEROW v. STATE2017 OK CR 20Case Number: F-2016-211Decided: 07/25/2017BRUCE ESLEY WITHEROW, Appellant, v. THE STATE OF OKLAHOMA, Appellee.
Cite as: 2017 OK CR 20, __  __

				


CORRECTION ORDER


¶1 It has come to the Court's attention that Judge Lumpkin's separate writing in the above styled and numbered cause, Witherow v. State, 2017 OK CR 17, ___ P.3d ___, was incorrectly recorded. The record of his writing should read as follows:

LUMPKIN, PRESIDING JUDGE: SPECIALLY CONCUR

¶2 IT IS SO ORDERED.

¶3 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 25th day of July, 2017.


/s/GARY L. LUMPKIN, Presiding Judge

/s/DAVID B. LEWIS, Vice Presiding Judge 


NOT PARTICIPATING
ARLENE JOHNSON, Judge


/S/ROBERT L. HUDSON, Judge 


ATTEST:

/s/Michael S. Richie
Clerk








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